Case 1:04-CV-01255-RL.]-egb Document 24 Filed 06/27/05 Page 1 of 3 Page|D 36

UNITED STATES I)ISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
REGINALD CHARLES, )
)
Plaintiff, )
V. ) CIVIL ACTION NO. 04-1255-T-
) An
THE PROCTER & GAMBLE )
MANUFACTURING COMPANY, a )
corporation, )
)
Defendant. )
ORDER

The Court hereby GRANTS Defendant The Procter & Gamble
Manufacturing Company, lnc.’ s (“Proeter & Gamble”) Motion To Exceed The
Page Limit On Motion For Summary Judgment. Procter & Gamble’s memoranda

in Support of its motion for Summary judgment Shall not exceed 60 pages.

S.

Uni d States Magi-sr;l=a-t-e Judge

AL§@M_WF
Date

ThIs document entered on the docket sheet ln compliance
with Ru\e se and:or_?e (a) FHCP on §§!Q-Qé" ~05

@\

_/’

 

ESTRN D

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 1:04-CV-01255 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

R. LaWrence Ashe
ASHE & RAFUSE7 LLP
1355 Peachtree St., NE
Ste. 500

Atlanta, GA 30309--323

Larry Montgomery
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Stephen D. Wakefield

WYATT TARRANT & CO1\/[BS
P.O. BOX 775000

1\/1emphis7 TN 38177--500

Adam F. Glankler
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Cynthia G. Burnside
ASHE & RAFUSE7 LLP
1355 Peachtree St., NE
Ste. 500

Atlanta, GA 30309--323

Venita Marie Martin
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Case 1:04-cV-01255-RL.]-egb Document 24 Filed 06/27/05 Page 3 of 3 Page|D 38

.1 ames J. SWartZ

ASHE RAFUSE & H[LL LLP
1355 Peachtree St., N.E.

Ste. 500

Atlanta, GA 30309--323

Honorable .1 ames Todd
US DISTRICT COURT

